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AO 106 (Rev. 04/010) Application for Search Warrant        AUTHORIZED AND APPROVED/DATE:          /s/ Corbin Houston, 10/21/22



                                      UNITED STATES DISTRICT COURT
                                                           for the
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      '-'-=     '-=-'-______ DISTRJCT OF_____---=O=K=L'-'----
           ST=E=RN                                     A=-H=---cO'""'MA
                                                                     '-=-=___                                                _
              In the Matter of the Search of                  )
                                                              )
          Samsung Galaxy SM-G973U l cell phone,               )   Case No: MJ-22-772-STE
          with serial number RF8RB0R24TY                      )


                                              APPLICATION FOR SEARCH WARRANT

        I, a federal law enforcement officer or attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following Property:

          See Attachment A, which is attached and incorporated by reference.

Located in the Western District of Oklahoma, there is now concealed;

          See Attachment B, which is attached and incorporated by reference.

          The basis for the search under Fed. R. Crim.P.41 (c) is(check one or more):
              �     evidence of the crime;
              [Zl   contraband, fruits of crime, or other items illegally possessed;
              [Zl   property designed for use, intended for use, or used in committing a crime;
              □ a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:

          Code Section                                                      Offense Description
          18 U.S.C. 2252A                                                   Possession of Child Pornography

The application is based on these facts:

See attached Affidavit of Special Agent Abraham Schenk, which is incorporated by reference herein.
            �     Continued on the attached sheet(s).
            D     Delayed notice of [No. of Days] days (give exact ending date if more than 30 days) is requested under 18
                                                                               p
                                                                  cS? �
U.S.C. § 3103a, the basis of which is set forth on the attached sheet(�

                                                                                                ;;>
                                                                                     Applicant's sign�
                                                              DAYID GARRISON
                                                              Special Agent
                                                              Federal Bureau of Investigation

Sworn to before me and signed in my presence.

Date:            Oct 21, 2022
                                                                                     Judge's signature

City and State: Oklahoma City, Oklahoma                       Shon T. Erwin, U.S. Magistrate Judge
                                                                                   Printed name and title
                     Lawton, OK
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                    THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF OKLAHOMA

                     AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

       I, David A. Garrison, a Special Agent with the Federal Bureau of Investigations

(FBI), being duly sworn, depose and state as follows:

                                     INTRODUCTION

       1.       I have been employed as a Special Agent (SA) with the FBI since June 2005,

and I am currently assigned to the Oklahoma City Field Office. Since joining the FBI, I

have been involved in investigations of child exploitation matters and computer crimes

against children. I currently investigate violations of federal law involving the exploitation

of children. I have gained expertise in the conduct of such investigations through training

in seminars, classes, and everyday work related to conducting these types of investigations

in my current role as an SA with the FBI.

       2.       As a federal agent, I am authorized to investigate violations of United States

laws and to execute warrants issued under the authority of the United States.

       3.       I am investigating the online activities of Samuel Ferreris (Ferreris). There

is probable cause to believe that Ferreris has attempted to receive, possess and distribute

child pornography, in violation of 18 U.S.C. § 2252A. I submit this Application and

Affidavit in support of a search warrant authorizing a search of a Samsung Galaxy SM-

G973U1 cell phone, with serial number RF8RB0R24TY (herein after referred to as “THE

DEVICE”), which Ferreris admitted to possessing during an interview with U.S. Probation

and Parole officers, and which was seized incident to his arrest on October 14, 2022, as
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further described in Attachment A. Located within THE DEVICE to be searched, I seek

to seize evidence, fruits, and instrumentalities of the foregoing criminal violation, where

the items specified in Attachment B may be found, and to seize all items listed in

Attachment B as instrumentalities, fruits, and evidence of a crime.

       4.       The statements in this Affidavit are based on my own investigation of this

matter and statements and reports generated by other law enforcement officers. Since this

Affidavit is being submitted for the limited purpose of securing a search warrant, I have

not included each and every fact known to me concerning this investigation. I have set

forth only the facts that I believe are necessary to establish probable cause to believe that

evidence, fruits, and instrumentalities of violations of 18 U.S.C. § 2252A are presently

located within THE DEVICE.

                                      DEFINITIONS

       5.       The following definitions apply to this Affidavit and Attachment B:

                a. “Child Erotica” means materials or items that are sexually arousing to

persons having a sexual interest in minors but that are not necessarily, in and of themselves,

obscene or that do not necessarily depict minors in sexually explicit poses or positions.

                b. “Child Pornography” includes any visual depiction of sexually explicit

conduct where (a) the production of the visual depiction involved the use of a minor

engaged in sexually explicit conduct; (b) the visual depiction was a digital image, computer

image, or computer-generated image that is, or is indistinguishable from, that of a minor

engaged in sexually explicit conduct; or (c) the visual depiction has been created, adapted,

or modified to appear that an identifiable minor is engaged in sexually explicit conduct.
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              c. “Computer” refers to “an electronic, magnetic, optical, electrochemical, or

other high speed data processing device performing logical or storage functions, and

includes any data storage facility or communications facility directly related to or operating

in conjunction with such device.” See 18 U.S.C. § 1030(e)(1).

              d. “Minor” means any person under the age of 18 years.

              e. “Sexually explicit conduct” applies to visual depictions that involve the

use of a minor, see 18 U.S.C. § 2256(8)(A), or that have been created, adapted, or modified

to appear to depict an identifiable minor, see 18 U.S.C. § 2256(8)(C). In those contexts,

the term refers to actual or simulated (a) sexual intercourse (including genital-genital, oral-

genital, or oral-anal), whether between persons of the same or opposite sex; (b) bestiality;

(c) masturbation; (d) sadistic or masochistic abuse; or (e) lascivious exhibition of the

genitals or pubic areas of any person. See 18 U.S.C. § 2256(2)(A).

              f. “Visual depictions” include undeveloped film and videotape, and data

stored on computer disk or by electronic means, which is capable of conversion into a

visual image. See 18 U.S.C. § 2256(5).

              g. The terms “records,” “documents,” and “materials” include all information

recorded in any form, visual or aural, and by any means, whether in handmade form

(including, but not limited to, writings, drawings, painting), photographic form (including,

but not limited to, microfilm, microfiche, prints, slides, negatives, videotapes, motion

pictures, photocopies); mechanical form (including, but not limited to, phonograph records,

printing, typing); or electrical, electronic or magnetic form (including, but not limited to,

tape recordings, cassettes, compact discs, electronic or magnetic storage devices).
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       BACKGROUND ON COMPUTERS AND CHILD PORNOGRAPHY

       6.       Based on my knowledge, training, and experience in child investigations, and

the experience and training of other law enforcement officers with whom I have had

discussions, computers, computer technology, and the Internet have revolutionized the

manner in which child pornography is produced and distributed.

       7.       Computers basically serve four functions in connection with child

pornography: production, communication, distribution, and storage.

       8.       Child pornographers can transpose photographic images from a camera into

a computer-readable format with a scanner. With digital cameras, the images can be

transferred directly onto a computer. A modem allows any computer to connect to another

computer through the use of telephone, cable, or wireless connection. Through the Internet,

electronic contact can be made to millions of computers around the world.

       9.       The computer’s ability to store images in digital form makes the computer

itself an ideal repository for child pornography. The size of the electronic storage media

used in home computers has grown tremendously within the last several years. These drives

can store thousands of images at very high resolution.

       10.      The Internet affords collectors of child pornography several different venues

for obtaining, viewing and trading child pornography in a secure and anonymous fashion.

       11.      Collectors and distributors of child pornography also use online resources to

retrieve and store child pornography, including services offered by Internet Portals such as

Yahoo! and Hotmail. These online services allow a user to set up an account with a remote

computing service that provides e-mail services as well as electronic storage of computer
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files in a variety of formats. A user can set up an online storage account from any computer

with access to the Internet. Evidence of such online storage of child pornography is often

found on the user’s computer. Even in cases where online storage is used, however,

evidence of child pornography can be found on the user’s computer in most cases.

       12.    As with most digital technology, communications made from a computer

are often saved or stored on that computer. Storing this information can be intentional, for

example, by saving an e-mail as a file on the computer or saving the location of one’s

favorite websites in “bookmarked” files.       Digital information can also be retained

unintentionally. Traces of the path of an electronic communication may be automatically

stored in many places. In addition to electronic communications, a computer user’s

Internet activities generally leave traces in a computer’s web cache and Internet history

files. A forensic examiner often can recover evidence that shows whether a computer

contains peer-to-peer software, when the computer was sharing files, and some of the files

that were uploaded or downloaded. Such information is often maintained indefinitely until

overwritten by other data. Likewise, devices such as cellular telephones, tablets, and e-

readers are also capable of electronic storage as computers.

                     BACKGROUND OF THE INVESTIGATION

       13.    On October 14, 2022, Ferreris reported to the U.S. Probation Office in

Oklahoma City, Oklahoma. He was originally convicted in the Middle District of Florida

in October of 2012 for Distribution of Child Pornography. He reported in order to bring

an unopened, factory new, mobile cell phone that was to be inspected and set up for

monitoring by the probation officer.
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       14.    Per U.S. Probation procedures related to building security, Ferreris entered

the building through a security checkpoint. The probation officer met Ferreris while he

was waiting to be escorted to the probation office with his current cell phone and the new

cell phone. The court security officers advised the probation officer of an additional cell

phone (THE DEVICE) brought to the building but not currently in his possession.

       15.    Two probation officers questioned Ferreris about THE DEVICE, and he

admitted to being in possession of it for about a year. Additionally, he admitted to using

THE DEVICE to both receiving and transmitting child pornography using the Telegram

application. Subsequently, one of the probation officers opened THE DEVICE and

searched the Gallery section which contained, in part, the following:

              a. Video – 8:43 in duration, shows two juvenile males (between 10-12 years

old) fully nude engaging in anal sexual intercourse with the erect penis’ of both visible.

Additionally, one of the juvenile males is performing oral sex on the other.

              b. Video – 58:6 in duration, shows two juvenile boys (between 8-10 years

old) performing oral sex on each other and masturbating.

              c. Video – 3:54 in duration, shows three juvenile males (between 6-8 years

old) engaging in oral sex and anal intercourse with each other.

       16.    The probation officer also reviewed the Telegram application on THE

DEVICE. On October 14, 2022 between 12:03 and 12:23 a.m., messages were shared

between Ferreris and other users including, “Send me boys 100 video” and “Send 100 cute

boys videos.” Subsequently, at 12:23 a.m. two video clips were received depicting anal

intercourse between juvenile males around 10-12 years of age.
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              CHILD PORNOGRAPHY COLLECTOR CHARACTERISTICS

       17.    The following indicates characteristics of child pornography collectors that I

have learned through training, working multiple investigations involving child

pornography, and from other law enforcement officers:

              a. The majority of individuals who collect child pornography are persons

who have a sexual attraction to children. They receive sexual gratification and satisfaction

from sexual fantasies fueled by depictions of children that are sexual in nature.

              b.   The majority of individuals who collect child pornography collect

sexually explicit materials, which may consist of photographs, magazines, motion pictures,

video tapes, books, slides, computer graphics or digital or other images for their own sexual

gratification. The majority of these individuals also collect child erotica, which may consist

of images or text that do not rise to the level of child pornography but which nonetheless

fuel their deviant sexual fantasies involving children.

              c. The majority of individuals who collect child pornography often seek out

like-minded individuals, either in person or on the Internet, to share information and trade

depictions of child pornography and child erotica as a means of gaining status, trust,

acceptance and support. The different Internet-based vehicles used by such individuals to

communicate with each other include, but are not limited to, P2P, e-mail, e-mail groups,

bulletin boards, IRC, newsgroups, instant messaging, and other similar vehicles.

              d. The majority of individuals who collect child pornography maintain

books, magazines, newspapers and other writings on the subject of sexual activities with

children as a way of understanding their own feelings toward children, justifying those
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feelings, and finding comfort for their illicit behavior and desires. Such individuals rarely

destroy these materials because of the psychological support they provide.

              e. The majority of individuals who collect child pornography often collect,

read, copy or maintain names, addresses (including e-mail addresses), phone numbers, or

lists of persons who have advertised or otherwise made known in publications and on the

Internet that they have similar sexual interests. These contacts are maintained as a means

of personal referral, exchange or commercial profit. These names may be maintained in the

original medium from which they were derived, in telephone books or notebooks, on

computer storage devices, or merely on scraps of paper.

              f. The majority of individuals who collect child pornography rarely, if ever,

dispose of their sexually explicit materials and may go to great lengths to conceal and

protect from discovery, theft, and damage their collections. They almost always maintain

their collections in the privacy and security of their homes or other secure location.

              g. Based upon the information I have at this time, the individual who goes

by “Richd1150” on the network fits the profile of an individual who collects child

pornography and therefore is likely to maintain, and even increase, his collection. Like

other collectors of child pornography, “Richd1150” sought out like-minded individuals

interested in trading child pornography on this P2P program.

              h. The very nature of this specialized P2P software program is to share files

in an attempt to increase a user’s collection of files. The software is only successful if the

users are sharing their collections so that each user can obtain copies of images and make

available their images, and so that all users benefit and increase their collection of images.
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                                    CONCLUSION

       18.    Based on the aforementioned factual information, I submit that there is

probable cause to believe that Samuel Ferreris is involved in the possession, receipt, and

distribution of child pornography, in violation of Title 18 U.S.C. § 2252A. Additionally, I

submit that there is probable cause to believe that evidence of that criminal offense is

located on THE DEVICE, and that this evidence, listed in Attachment B to this Affidavit,

is contraband, the fruits of crime, or things otherwise criminally possessed, or property

which is or has been used as the means of committing the foregoing offenses.

      19.    I respectfully request that the attached warrant be issued authorizing the

search and seizure of the items listed in Attachment B.




                                  DAYID A GARRISON
                                  Special Agent
                                  Federal Bureau of Investigation


SUBSCRIBED AND SWORN to before me this _ day of October, 2022.




                                  SHONT. ERWIN
                                  United States Magistrate Judge
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                          ATTACHMENT A

                   PROPERTY TO BE SEARCHED

     This warrant seeks to search a Samsung Galaxy SM-G973U1 cell phone,

with serial number RF8RB0R24TY.
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                                   ATTACHMENT B

                           LIST OF ITEMS TO BE SEIZED

        1.     Any and all notes, documents, records, or correspondence, in any format and
medium (including, but not limited to, envelopes, letters, papers, e-mail messages, chat
logs and electronic messages, and handwritten notes) pertaining to the possession, receipt,
or distribution of child pornography as defined in 18 U.S.C. § 2256(8) or to the possession,
receipt, or distribution of visual depictions of minors engaged in sexually explicit conduct
as defined in 18 U.S.C. § 2256(2).

       2.     In any format and medium, all originals, computer files, copies, and
negatives of child pornography as defined in 18 U.S.C. § 2256(8), visual depictions of
minors engaged in sexually explicit conduct as defined in 18 U.S.C. § 2256(2), or child
erotica.

       3.      Any and all diaries, address books, names, and lists of names and addresses
of individuals who may have been contacted by the operator of the computer or by other
means for the purpose of distributing or receiving child pornography as defined in 18
U.S.C. § 2256(8) or visual depictions of minors engaged in sexually explicit conduct as
defined in 18 U.S.C. § 2256(2).

       4.     Any and all notes, documents, records, or correspondence, in any format or
medium (including, but not limited to, envelopes, letters, papers, e-mail messages, chat
logs and electronic messages, and handwritten notes), identifying persons transmitting,
through interstate or foreign commerce by any means, including, but not limited to, by the
United States Mail or by computer, any child pornography as defined in 18 U.S.C.
§ 2256(8) or any visual depictions of minors engaged in sexually explicit conduct, as
defined in 18 U.S.C. § 2256(2).

       5.     Any and all notes, documents, records, or correspondence, in any format or
medium (including, but not limited to, envelopes, letters, papers, e-mail messages, chat
logs and electronic messages, other digital data files and web cache information)
concerning the receipt, transmission, or possession of child pornography as defined in 18
U.S.C. § 2256(8) or visual depictions of minors engaged in sexually explicit conduct, as
defined in 18 U.S.C. § 2256(2).

       6.     Any and all notes, documents, records, or correspondence, in any format or
medium (including, but not limited to, envelopes, letters, papers, e-mail messages, chat
logs and electronic messages, and other digital data files) concerning communications
between individuals about child pornography or the existence of sites on the Internet that
contain child pornography or that cater to whose with an interest in child pornography.
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       7.     Any and all notes, documents, records, or correspondence, in any format or
medium (including, but not limited to, envelopes, letters, papers, e-mail messages, chat
logs and electronic messages, and other digital data files) concerning membership in online
groups, clubs, or services that provide or make accessible child pornography to members.

       8.     Any and all records, documents, invoices and materials, in any format or
medium (including, but not limited to, envelopes, letters, papers, e-mail messages, chat
logs and electronic messages, and other digital data files) that concern any accounts with
an Internet Service Provider.

       9.     Any and all records, documents, invoices and materials, in any format or
medium (including, but not limited to, envelopes, letters, papers, e-mail messages, chat
logs and electronic messages, and other digital data files) that concern online storage or
other remote computer storage, including, but not limited to, software used to access such
online storage or remote computer storage, user logs or archived data that show connection
to such online storage or remote computer storage, and user logins and passwords for such
online storage or remote computer storage.

       10.    Any and all visual depictions of minors.

        11.    Any and all address books, mailing lists, supplier lists, mailing address
labels, and any and all documents and records, in any format or medium (including, but
not limited to, envelopes, letters, papers, e-mail messages, chat logs and electronic
messages, and other digital data files), pertaining to the preparation, purchase, and
acquisition of names or lists of names to be used in connection with the purchase, sale,
trade, or transmission, through interstate or foreign commerce by any means, including by
the United States Mail or by computer, any child pornography as defined in 18 U.S.C. §
2256(8) or any visual depiction of minors engaged in sexually explicit conduct, as defined
in 18 U.S.C. § 2256(2).

      12.     Any and all documents, records, or correspondence, in any format or
medium (including, but not limited to, envelopes, letters, papers, e-mail messages, chat
logs and electronic messages, and other digital data files), pertaining to occupancy or
ownership of the premises described above, including, but not limited to, rental or lease
agreements, mortgage documents, rental or lease payments, utility and telephone bills, mail
envelopes, or addressed correspondence.

       13.    Any and all diaries, notebooks, notes, and any other records reflecting
personal contact and any other activities with minors visually depicted while engaged in
sexually explicit conduct, as defined in 18 U.S.C. § 2256(2).
